                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                             )
                                                      )
                      Plaintiff,                      )
                                                      )      No. 3:03-CR-101
V.                                                    )      (JORDAN/GUYTON)
                                                      )
CHRISTOPHER HANKINS,                                  )
                                                      )
                      Defendant.                      )

                      ORDER SCHEDULING DETENTION HEARING
                           AND PRELIMINARY HEARING

               An initial appearance on was held in this case on April 8, 2009, on a Petition for

Warrant for Offender Under Supervision. Ed Schmutzer, Assistant United States Attorney, was

present representing the government, and Jonathan Moffatt, Assistant Federal Defender, was present

representing the defendant. The defendant was present. Upon motion of the government for

detention stating that the defendant was a danger to the community, and pursuant to 18 U.S.C. §

3142, it is ordered that a detention hearing / preliminary hearing is scheduled for Monday, April

13, 2009 at 2:30 p.m. before the undersigned, pursuant to Federal Rules of Criminal Procedure Rule

5.1 and 18 U.S.C. § 3060.

               If probable cause is found at the preliminary hearing, then the defendant shall appear

before the Honorable Leon Jordan, United States District Judge, for a revocation hearing on

April 27, 2009 at 10:00 a.m.

               For good cause shown, the defendant’s request not to contest, and to waive the

detention hearing is hereby GRANTED.




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        It is therefore ORDERED that:

        (1)   Defendant be detained;

        (2)   Defendant be committed to the custody of the Attorney
              General for confinement in a corrections facility separate, to
              the extent practicable, from persons awaiting or serving
              sentences or being held in custody pending appeal;

        (3)   Defendant be afforded reasonable opportunity for private
              consultation with counsel; and

        (4)   On order of a court of the United States or on request of an
              attorney for the government, the person in charge of the
              corrections facility in which the defendant is confined
              deliver the defendant to a United States marshal for the
              purpose of an appearance in connection with any court
              proceeding.


                             ENTER:

                                 s/C. Clifford Shirley, Jr.
                             United States Magistrate Judge




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